                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                               Charlotte DIVISION
                        DOCKET NO. 3:20-cv-00162-FDW-DSC


 Charles Mitchell Jr,                       )
                                            )
                 Plaintiff,                 )
                                            )
        vs.                                 )                       ORDER
                                            )
 Rent-A-Center, Inc.                        )
 Equifax Information Services, LLC,         )
                                            )
               Defendants.                  )

       THIS MATTER is before the Court on Defendant RAC Acceptance East, LLC d/b/a/

Acceptance Now, East, LLC’s (“Defendant RAC”) Motion to Compel Arbitration and Dismiss

(Doc. No. 7) and Plaintiff’s Notice of Settlement with Defendant Equifax Information Services,

LLC (“Defendant Equifax”). (Doc. No. 9). Having carefully considered the motion, memoranda,

and the record, the Court GRANTS IN PART Defendant RAC’s Motion and STAYS this case.

       I.      BACKGROUND

       Plaintiff commenced the instant case on March 15, 2020, seeking damages from

Defendants for various violations of the Fair Credit Reporting Act. (Doc. No. 1). On July 15, 2020,

Defendant RAC moved to compel arbitration pursuant to the Federal Arbitration Act, citing its

rental agreement with Plaintiff, and dismiss the case. (Doc. No. 7). Plaintiff has not submitted a

response to Defendant RAC’s Motion, and the time for doing so has expired. However, on July

21, 2020, Plaintiff filed a notice of settlement with Defendant Equifax, seeking a stay of the case

as to Defendant Equifax only, pending completion of the settlement agreement. (Doc. No. 9).

       With respect to Defendant RAC’s Motion to Dismiss and Compel Arbitration, Plaintiff and

Defendant entered into two rental agreements: the first on September 12, 2015, and the second on




                                                1

    Case 3:20-cv-00162-FDW-DSC             Document 14        Filed 11/05/20     Page 1 of 4
November 18, 2016. (Doc. No 8, p. 3). Both rental agreements contain an arbitration agreement,

which provides, in relevant part:

       (B) What Claims Are Covered: You and RAC agree that, in the event of any
       dispute or claim between us, either you or RAC may elect to have that dispute or
       claim resolved by binding arbitration. This agreement to arbitrate is intended to be
       interpreted as broadly as the FAA allows. Claims subject to arbitration include, but
       are not limited to:
      claims arising under, arising out of, or relating in any way to any Consumer
       Contract entered into between you and RAC at any time, and/or any services
       rendered under or that relate to any such Consumer Contract;
      claims that arose before the execution of this Agreement or any current or prior
       Consumer Contract between you and RAC, such as claims related to advertising or
       disclosures;
      claims that arise after the termination of any Consumer Contract between you and
       RAC;
      claims that are based on any legal theory whatsoever, including negligence, breach
       of contract, tort, fraud, misrepresentation, trespass, the common law, or any statute,
       regulation or ordinance;
      except as specified in Paragraph (C) below, claims that are asserted in a lawsuit in
       court, including class actions in which you are not a member of a certified class,
       which the defendant (or counterclaim defendant) elects to have resolved by binding
       arbitration; and
      except as specified in Paragraph (D) below, any and all disputes relating to the
       interpretation, applicability, enforceability or formation of this Agreement,
       including, but not limited to, any contention that all or any part of this agreement
       to arbitrate is void or voidable.

(Doc. No. 8-1, pp. 8-9, 14-15) (emphasis in original).

       II.     STANDARD OF REVIEW

       The Federal Arbitration Act, which governs the enforcement of arbitration agreements,

"reflects a liberal federal policy favoring arbitration agreements." Adkins v. Labor Ready, Inc.,

303 F.3d 496, 500 (4th Cir. 2002). Ambiguities regarding the scope of an arbitration clause are

resolved in favor of arbitration. See id. According to Adkins,

       The FAA requires a court to stay "any suit or proceeding" pending arbitration of
       "any issue referable to arbitration under an agreement in writing for such
       arbitration." 9 U.S.C. § 3. This stay-of-litigation provision is mandatory. A district
       court therefore has no choice but to grant a motion to compel arbitration where a
       valid arbitration agreement exists and the issues in a case fall within its purview.
                                                 2

    Case 3:20-cv-00162-FDW-DSC             Document 14        Filed 11/05/20       Page 2 of 4
Id. at 499-501.

       To compel arbitration, "the court must first find that an arbitration agreement exists

between the parties." Hightower v. GMRI, Inc., 272 F.3d 239, 242 (4th Cir. 2001). If so, "the

court must then decide whether the dispute at issue falls within the scope of the agreement." Id.

In determining the validity of the agreement, courts apply state contract law. See id.; Doctor's

Associates, Inc. v. Casarotto, 517 U.S. 681, 686 (1996). “[A]ny doubts concerning the scope of

arbitrable issues should be resolved in favor of arbitration, whether the problem at hand is the

construction of the contract language itself or an allegation of waiver, delay, or a like defense to

arbitrability.” Moses H. Cone Mem'l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24–25 (1983).

Because federal policy strongly favors arbitration, the burden lies with the party opposing

arbitration to demonstrate why arbitration should not be ordered. See Shearson/American

Express, Inc. v. McMahon, 482 U.S. 220, 227 (1987).

       III.       ANALYSIS

       Plaintiff has not submitted a responsive motion to Defendant RAC’s Motion to Dismiss

and Compel Arbitration, and the time for doing so has long since expired. As such, this analysis is

limited to the issues of (1) whether an arbitration agreement exists between the parties, and (2) if

so, whether the dispute falls within the scope of any such agreement. As to the first issue, the Court

finds a valid arbitration agreement exists between the parties. Plaintiff has signed both rental

agreements and corresponding arbitration agreements, see (Doc. 8-1, pp. 4, 6, 12, 18), and makes

no argument to the contrary. Moreover, “North Carolina law directs [federal courts] to favor

arbitration . . . [when] the facts support the conclusion that the parties formed an arbitration

agreement.” Hightower v. GMRI, Inc., 272 F.3d 239, 242 (4th Cir. 2001). Accordingly, a valid

arbitration agreement between Defendant RAC and Plaintiff exists.

                                                  3

    Case 3:20-cv-00162-FDW-DSC              Document 14        Filed 11/05/20       Page 3 of 4
       As to the second issue, “‘[t]o decide whether an arbitration agreement encompasses a

dispute[,] a court must determine whether the factual allegations underlying the claim are within

the scope of the arbitration clause, regardless of the legal label assigned to the claim.’” J.J. Ryan

& Sons, Inc., v. Rhone Poulenc Textile, S.A., 863 F.2d 315, 319 (4th Cir. 1988). Broad statements

in arbitration clauses, such as those involving “arising out of or relating to” encompass an

expansive range of disputes. See U.S. Sur. Co. v. Hanover R.S. Ltd. P’ship, 543 F. Supp. 2d 492,

495 (W.D.N.C. 2008) (“According to the Fourth Circuit, [b]oth the Supreme Court and this court

have characterized similar formulations [of ‘arising out of or relating to’] to be broad arbitration

clauses capable of extensive reach.” (quotation omitted)). The arbitration clause here contains

broad language by mandating arbitration for claims “arising out of, or relating in any way to any

Consumer Contract entered into between you and RAC.” This is sufficiently broad enough to cover

Plaintiff’s FCRA claim because the dispute is based on Plaintiff’s account with Defendant RAC,

(Doc. No. 1, p. 5), and Plaintiff does not contend otherwise. Accordingly, the arbitration

agreements at issue here encompass the dispute between Plaintiff and Defendant RAC.

       IV.     CONCLUSION

       IT IS THEREFORE ORDERED that Defendant RAC’s Motion to Compel Arbitration and

Dismiss (Doc No. 7) is GRANTED IN PART. Plaintiff and Defendant RAC are ORDERED to

proceed to arbitration and submit status reports to this Court every ninety (90) days. This matter is

hereby STAYED pending the outcome of arbitration between Plaintiff and Defendant RAC, and

pending the completion of the settlement agreement between Plaintiff and Defendant Equifax.

       IT IS SO ORDERED.                   Signed: November 5, 2020




                                                 4

    Case 3:20-cv-00162-FDW-DSC              Document 14        Filed 11/05/20      Page 4 of 4
